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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 RORY GRIFFIN,                                   )
                                                 )
                        Plaintiff,               )
                                                 )
 vs.                                             )   Case No. 21-cv-436-NJR
                                                 )
 DENNIS LARSON,                                  )
                                                 )
                        Defendant.               )

                    SCHEDULING AND DISCOVERY ORDER
ROSENSTENGEL, Chief Judge:

       Defendant Larson did not file a motion on the issue of exhaustion, and the deadline to do

so has now passed. Thus, the previously imposed stay on merits discovery is lifted.

I.     Discovery

           A. Each party is limited to serving 15 interrogatories, 15 requests for production of

              documents, and 10 requests for admission. On motion, these limits may be

              increased for good cause shown.

           B. Any interrogatories, requests for production of documents, or requests for

              admissions shall be served so as to allow the answering party the full thirty-day

              period provided by the Federal Rules of Civil Procedure in which to respond.

           C. The parties are reminded that discovery requests must be made in accordance with

              Federal Rule of Civil Procedure 26(b): the parties should only “obtain discovery

              regarding any non-privileged matter that is relevant to any party’s claim or defense

              and proportional to the needs of the case.”

           D. Defendant is given leave to depose Plaintiff pursuant to Federal Rule of Civil

              Procedure 30(a)(2). Defendant shall serve any Rule 30 notice upon Plaintiff at least

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               two weeks prior to the date of a deposition. Plaintiff is informed that he must

               cooperate in the taking of his deposition. It is appropriate and proper for defense

               counsel to take a Plaintiff’s deposition and to ask questions even if Plaintiff is not

               represented by counsel. The failure to cooperate in the taking of a deposition by,

               for example, refusing to answer appropriate questions, may result in sanctions,

               including the dismissal of this lawsuit. Plaintiff is directed to review Federal Rule

               of Civil Procedure 30.

           E. All discovery must be completed by February 21, 2023. Pursuant to Federal Rule

               of Civil Procedure 26(e), the parties are under an ongoing obligation to supplement

               the disclosures and production in this case. Failure to timely disclose or supplement

               discovery in this case may result in sanctions, including being prohibited from using

               the undisclosed information or witness.

           F. If a motion to compel discovery pursuant to Rule 37 is filed, the party filing the

               motion also shall submit the discovery requests and responses (if any) at issue.

           G. The Court encourages the parties to conduct discovery in a timely manner. Motions

               for extension of the discovery deadline filed on or shortly before a deadline are

               disfavored.

II.     Dispositive Motions

        Any dispositive motion on the merits of Plaintiff’s claims shall be filed by March 20, 2023.

Plaintiff is WARNED that the failure to respond to a dispositive motion may result in an

Order granting summary judgment and terminating this matter.

 III.   Daubert Motions

        All Daubert motions (seeking to exclude expert testimony/evidence) shall be filed by



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 March 20, 2023. The parties are WARNED that Daubert motions not filed in accord with

 this deadline will be denied as untimely-filed.

IV.     Trial Schedule

        Trial will be set once the Court rules on all dispositive motions, or, if none are filed, once

 the deadline for dispositive motions has passed. The Court will set a status conference with the

 parties to select a firm trial date. The parties should confer with each other prior to the status

 conference to identify potential trial dates. Once the trial date is set, a continuance will be granted

 only in the rarest of circumstances.

 IV.    Other Matters.

        Finally, if the parties believe a settlement conference would be beneficial now or at any

 point before trial, they should contact the Court and request a prompt setting.

        IT IS SO ORDERED.

        DATED: April 19, 2022

                                                        s/ Nancy J. Rosenstengel
                                                        NANCY J. ROSENSTENGEL
                                                        Chief U.S. District Judge




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